                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                      )
 et al.,                                           )
                                                   )
                Plaintiffs and                     )
                Counterclaim Defendants,           )
                                                   )
 v.                                                )         Case No. 4:16-cv-02163
                                                   )
 PEOPLE FOR THE ETHICAL                            )
 TREATMENT OF ANIMALS, INC., et al.,               )
                                                   )
                Defendants and                     )
                Counterclaim Plaintiffs.           )

                                     [PROPOSED] ORDER

       Before the Court is the Second Motion to Compel the Deposition of Counterclaim

Defendant Connie Braun Casey (“Casey”) brought by Counterclaim Plaintiffs, People for the

Ethical Treatment of Animals, Inc. and Angela Scott a/k/a Angela G. Cagnasso (together,

“Plaintiffs”) pursuant to Rules 26, 30, and 37 of the Federal Rules of Civil Procedure. Good

cause appearing, IT IS HEREBY ORDERED that Plaintiffs’ motion is GRANTED as follows:

       IT IS ORDERED that within ten days of the entry of this Order, Casey shall appear for

deposition at the offices of Plaintiffs’ counsel at 100 S. Fourth Street, Suite 1000, St. Louis, MO

63102 for such period of time as to afford Plaintiffs’ counsel a reasonable opportunity to

examine Casey about any matters as to which Plaintiffs’ counsel lacked an opportunity for a full

and fair examination during Casey’s first deposition, due to Casey’s failure to timely disclose

such matters in discovery.

       IT IS FURTHER ORDERED that Casey shall pay Plaintiffs’ costs and attorneys’ fees

relating to the motion to compel, and that Casey shall reimburse Plaintiffs’ counsel for
reasonable travel and lodging costs necessitated by having to take the second deposition.

Plaintiffs shall have five days following the completion of Casey’s second deposition to submit

an affidavit detailing all such costs and fees.




Date: __________________________                      _________________________
                                                      CATHERINE D. PERRY
                                                      UNITED STATES DISTRICT JUDGE




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